     Case 2:19-cv-03668-CBM-MAA Document 1 Filed 04/30/19 Page 1 of 8 Page ID #:1




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 9
10                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
11
12   DAVE VACCARO, individually and ) Case No.
13   on behalf of all others similarly )
     situated,                         ) CLASS ACTION
14                                     )
15   Plaintiff,                        ) COMPLAINT FOR VIOLATIONS
                                       ) OF:
16
            vs.                        )
17                                     ) 1. NEGLIGENT VIOLATIONS OF
                                            THE TELEPHONE CONSUMER
18                                     )    PROTECTION ACT [47 U.S.C.
     BLUE CANARY SERVICES, LLC )            §227 ET SEQ.]
19   d/b/a TRUST ARROW; DOES 1         ) 2. WILLFUL VIOLATIONS OF THE
                                            TELEPHONE CONSUMER
20   through 10, inclusive,            )    PROTECTION ACT [47 U.S.C.
                                       )    §227 ET SEQ.]
21
     Defendants.                       )
22                                     ) DEMAND FOR JURY TRIAL
23         Plaintiff, DAVE VACCARO (“Plaintiff”), individually and all others
24   similarly situated, alleges the following upon information and belief based upon
25   personal knowledge:
26                             NATURE OF THE CASE
27         1.    Plaintiff brings this action individually and on behalf of all others
28   similarly situated seeking damages and any other available legal or equitable


                                CLASS ACTION COMPLAINT
                                           -1-
     Case 2:19-cv-03668-CBM-MAA Document 1 Filed 04/30/19 Page 2 of 8 Page ID #:2




 1   remedies resulting from the illegal actions of BLUE CANARY SERVICES, LLC
 2   d/b/a TRUST ARROW (“Defendant”), in negligently, knowingly, and/or willfully
 3   contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
 4   Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading
 5   Plaintiff’s privacy.
 6                             JURISDICTION & VENUE
 7         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 8   a resident of California, seeks relief on behalf of a Class, which will result in at
 9   least one class member belonging to a different state than that of Defendant, a
10   company with its principal place of business and State of Incorporation in Florida
11   state. Plaintiff also seeks up to $1,500.00 in damages for each call in violation of
12   the TCPA, which, when aggregated among a proposed class in the thousands,
13   exceeds the $5,000,000.00 threshold for federal court jurisdiction. Therefore, both
14   diversity jurisdiction and the damages threshold under the Class Action Fairness
15   Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
16         3.     Venue is proper in the United States District Court for the Central
17   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
18   because Defendant does business within the state of California and Plaintiff resides
19   within this District.
20                                       PARTIES
21         4.     Plaintiff, DAVE VACCARO (“Plaintiff”), is a natural person residing
22   in Los Angeles County of the state of California and is a “person” as defined by 47
23   U.S.C. § 153 (10).
24         5.     Defendant, BLUE CANARY SERVICES, LLC d/b/a TRUST
25   ARROW (“Defendant”), is a student loan company and is a “person” as defined by
26   47 U.S.C. § 153 (10).
27         6.     The above named Defendant, and its subsidiaries and agents, are
28   collectively referred to as “Defendants.” The true names and capacities of the


                                  CLASS ACTION COMPLAINT
                                             -2-
     Case 2:19-cv-03668-CBM-MAA Document 1 Filed 04/30/19 Page 3 of 8 Page ID #:3




 1   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 2   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 3   names. Each of the Defendants designated herein as a DOE is legally responsible
 4   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 5   Complaint to reflect the true names and capacities of the DOE Defendants when
 6   such identities become known.
 7         7.     Plaintiff is informed and believes that at all relevant times, each and
 8   every Defendant was acting as an agent and/or employee of each of the other
 9   Defendants and was acting within the course and scope of said agency and/or
10   employment with the full knowledge and consent of each of the other Defendants.
11   Plaintiff is informed and believes that each of the acts and/or omissions complained
12   of herein was made known to, and ratified by, each of the other Defendants.
13                              FACTUAL ALLEGATIONS
14         8.     Beginning on or around July 16, 2018, Defendant contacted Plaintiff
15   on his cellular telephone, ending in -3928, in an effort to sell or solicit its services.
16         9.     Defendant used an “automatic telephone dialing system”, as defined
17   by 47 U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to sell or solicit
18   its business services. At one or more instance during these calls, Defendant utilized
19   an “artificial or prerecorded voice” as prohibited by 47 U.S.C. § 227(b)(1)(A).
20         10.    Defendant’s calls constituted calls that were not for emergency
21   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
22         11.    Defendant’s calls were placed to telephone number assigned to a
23   cellular telephone service for which Plaintiff incurs a charge for incoming calls
24   pursuant to 47 U.S.C. § 227(b)(1).
25         12.    Plaintiff is not a customer of Defendant’s services and has never
26   provided any personal information, including his cellular telephone number, to
27   Defendant for any purpose whatsoever. Accordingly, Defendant never received
28   Plaintiff’s “prior express consent” to receive calls using an automatic telephone


                                    CLASS ACTION COMPLAINT
                                               -3-
     Case 2:19-cv-03668-CBM-MAA Document 1 Filed 04/30/19 Page 4 of 8 Page ID #:4




 1   dialing system or an artificial or prerecorded voice on his cellular telephone
 2   pursuant to 47 U.S.C. § 227(b)(1)(A).
 3                                CLASS ALLEGATIONS
 4         13.    Plaintiff brings this action on behalf of himself and all others similarly
 5   situated, as a member of the proposed class (hereafter “The Class”) defined as
 6   follows:
 7
 8                All persons within the United States who received any
                  telephone calls from Defendant to said person’s cellular
 9                telephone made through the use of any automatic
10                telephone dialing system or an artificial or prerecorded
                  voice and such person had not previously consented to
11
                  receiving such calls within the four years prior to the
12                filing of this Complaint
13
           14.    Plaintiff represents, and is a member of, The Class, consisting of All
14
     persons within the United States who received any telephone calls from Defendant
15
     to said person’s cellular telephone made through the use of any automatic telephone
16
     dialing system or an artificial or prerecorded voice and such person had not
17
     previously not provided their cellular telephone number to Defendant within the
18
     four years prior to the filing of this Complaint.
19
           15.    Defendant, its employees and agents are excluded from The Class.
20
     Plaintiff does not know the number of members in The Class, but believes the Class
21
     members number in the thousands, if not more. Thus, this matter should be
22
     certified as a Class Action to assist in the expeditious litigation of the matter.
23
           16.    The Class is so numerous that the individual joinder of all of its
24
     members is impractical. While the exact number and identities of The Class
25
     members are unknown to Plaintiff at this time and can only be ascertained through
26
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
27
     The Class includes thousands of members.            Plaintiff alleges that The Class
28



                                   CLASS ACTION COMPLAINT
                                              -4-
     Case 2:19-cv-03668-CBM-MAA Document 1 Filed 04/30/19 Page 5 of 8 Page ID #:5




 1   members may be ascertained by the records maintained by Defendant.
 2            17.      Plaintiff and members of The Class were harmed by the acts of
 3   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 4   and Class members via their cellular telephones thereby causing Plaintiff and Class
 5   members to incur certain charges or reduced telephone time for which Plaintiff and
 6   Class members had previously paid by having to retrieve or administer messages
 7   left by Defendant during those illegal calls, and invading the privacy of said
 8   Plaintiff and Class members.
 9            18.      Common questions of fact and law exist as to all members of The
10   Class which predominate over any questions affecting only individual members of
11   The Class. These common legal and factual questions, which do not vary between
12   Class members, and which may be determined without reference to the individual
13   circumstances of any Class members, include, but are not limited to, the following:
14
        a.          Whether, within the four years prior to the filing of this Complaint,
15
                    Defendant made any call (other than a call made for emergency purposes
16                  or made with the prior express consent of the called party) to a Class
17
                    member using any automatic telephone dialing system or any artificial or
                    prerecorded voice to any telephone number assigned to a cellular
18                  telephone service;
19      b.          Whether Plaintiff and the Class members were damages thereby, and the
                    extent of damages for such violation; and
20
        c.          Whether Defendant should be enjoined from engaging in such conduct in
21                  the future.
22
              19.      As a person that received numerous calls from Defendant using an
23
     automatic telephone dialing system or an artificial or prerecorded voice, without
24
     Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of The
25
     Class.
26
              20.      Plaintiff will fairly and adequately protect the interests of the members
27
     of The Class. Plaintiff has retained attorneys experienced in the prosecution of
28



                                       CLASS ACTION COMPLAINT
                                                  -5-
     Case 2:19-cv-03668-CBM-MAA Document 1 Filed 04/30/19 Page 6 of 8 Page ID #:6




 1   class actions.
 2         21.    A class action is superior to other available methods of fair and
 3   efficient adjudication of this controversy, since individual litigation of the claims
 4   of all Class members is impracticable. Even if every Class member could afford
 5   individual litigation, the court system could not. It would be unduly burdensome
 6   to the courts in which individual litigation of numerous issues would proceed.
 7   Individualized litigation would also present the potential for varying, inconsistent,
 8   or contradictory judgments and would magnify the delay and expense to all parties
 9   and to the court system resulting from multiple trials of the same complex factual
10   issues. By contrast, the conduct of this action as a class action presents fewer
11   management difficulties, conserves the resources of the parties and of the court
12   system, and protects the rights of each Class member.
13         22.    The prosecution of separate actions by individual Class members
14   would create a risk of adjudications with respect to them that would, as a practical
15   matter, be dispositive of the interests of the other Class members not parties to such
16   adjudications or that would substantially impair or impede the ability of such non-
17   party Class members to protect their interests.
18         23.    Defendant has acted or refused to act in respects generally applicable
19   to The Class, thereby making appropriate final and injunctive relief with regard to
20   the members of the California Class as a whole.
21
                             FIRST CAUSE OF ACTION
22          Negligent Violations of the Telephone Consumer Protection Act
23                               47 U.S.C. §227 et seq.
24         24.    Plaintiff repeats and incorporates by reference into this cause of
25   action the allegations set forth above at Paragraphs 1-23.
26         25.    The foregoing acts and omissions of Defendant constitute numerous
27   and multiple negligent violations of the TCPA, including but not limited to each
28   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.



                                  CLASS ACTION COMPLAINT
                                             -6-
     Case 2:19-cv-03668-CBM-MAA Document 1 Filed 04/30/19 Page 7 of 8 Page ID #:7




 1          26.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
 2   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
 3   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 4          27.    Plaintiff and the Class members are also entitled to and seek
 5   injunctive relief prohibiting such conduct in the future.
 6
 7
                         SECOND CAUSE OF ACTION
      Knowing and/or Willful Violations of the Telephone Consumer Protection
 8                                      Act
 9                            47 U.S.C. §227 et seq.
10          28.    Plaintiff repeats and incorporates by reference into this cause of

11   action the allegations set forth above at Paragraphs 1-23.

12
            29.    The foregoing acts and omissions of Defendant constitute numerous

13
     and multiple knowing and/or willful violations of the TCPA, including but not

14
     limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et

15
     seq.
            30.    As a result of Defendant’s knowing and/or willful violations of 47
16
     U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
17
     $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
18
     § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
19
            31.    Plaintiff and the Class members are also entitled to and seek
20
     injunctive relief prohibiting such conduct in the future.
21
22
                                  PRAYER FOR RELIEF
23
      WHEREFORE, Plaintiff requests judgment against Defendant for the following:
24
25
                             FIRST CAUSE OF ACTION
26          Negligent Violations of the Telephone Consumer Protection Act
27                               47 U.S.C. §227 et seq.
28                 As a result of Defendant’s negligent violations of 47 U.S.C.


                                  CLASS ACTION COMPLAINT
                                             -7-
     Case 2:19-cv-03668-CBM-MAA Document 1 Filed 04/30/19 Page 8 of 8 Page ID #:8




 1               §227(b)(1), Plaintiff and the Class members are entitled to and
                 request $500 in statutory damages, for each and every violation,
 2               pursuant to 47 U.S.C. 227(b)(3)(B); and
 3
                Any and all other relief that the Court deems just and proper.
 4
 5                       SECOND CAUSE OF ACTION
 6    Knowing and/or Willful Violations of the Telephone Consumer Protection
                                        Act
 7                            47 U.S.C. §227 et seq.
 8
                As a result of Defendant’s willful and/or knowing violations of 47
 9
                 U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
10               and request treble damages, as provided by statute, up to $1,500, for
11               each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
                 U.S.C. §227(b)(3)(C); and
12
13              Any and all other relief that the Court deems just and proper.
14
15         Respectfully Submitted this 30th day of April, 2019.
16                            LAW OFFICES OF TODD M. FRIEDMAN, P.C.
17
                                     By: /s Todd M. Friedman
18
                                         Todd M. Friedman
19                                       Law Offices of Todd M. Friedman
20                                       Attorney for Plaintiff

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                                 CLASS ACTION COMPLAINT
                                            -8-
